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 8                         UNITED STATES DISTRICT COURT
 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                No. CR 20-00060(A)-JLS
11
                Plaintiff,                    PRELIMINARY ORDER OF
12                                            FORFEITURE
                 v.
13
     STEPHEN WILLIAM BEAL,
14
                Defendant.
15
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17         Upon consideration of the application of Plaintiff, United

18   States of America, for a preliminary order of forfeiture

19   pursuant to the plea agreement of, and guilty plea to Counts

20   Nine, Thirteen, and Fourteen of the First Superseding

21   Indictment, entered into by, defendant STEPHEN WILLIAM BEAL and,
22   good cause appearing thereon, IT IS HEREBY ORDERED:
23                           I. FORFEITABLE PROPERTY
24         For the reasons set out below, all right, title and
25   interest of STEPHEN WILLIAM BEAL, (“defendant”) in the following
26   described property (hereinafter, the “Forfeitable Property”) is
27   hereby forfeited to the United States.         The Court finds that the
28   government has established the requisite nexus between the
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 1   Forfeitable Property and the offenses described in the First
 2   Superseding Indictment.      The Forfeitable Property is more
 3   particularly described as:
 4         a.   Real Property located at 7103 E. El Paseo Street, Long
 5              Beach, California 90815;
 6         b.   $3,409.60 in Funds from Bank Account # 984673350 in
 7              the name of Stephen W. Beal and Valerie J. Stone at
 8              J.P. Morgan Chase Bank, Ladera Ranch, CA 92694;
 9         c.   $9,201.42 in Funds from Bank Account # 3320585309 in
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                the name of Stephen W. Beal and Valerie J. Stone at
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                J.P. Morgan Chase Bank, 27702 Crown Valley Parkway,
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                Suite C3, Ladera Ranch, CA 92694;
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           d.   $5,171.27 in Funds from Bank Account # 5490951976 in
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                the name of Valerie J. Stone at Wells Fargo Bank,
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                Ladera Ranch, CA 92694;
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           e.   Long term disability benefits payable by Hartford Life
17
                and Accident Insurance Co., as claims administrator,
18
                for self-funded Long Term Disability Plan # 83082035
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20              payable to Stephen Beal; and

21         f.   Long term disability benefits payable by Hartford Life

22              and Accident Insurance Co., as claims administrator,

23              for self-funded Long Term Disability Plan # 83082036,

24              payable to Stephen Beal (collectively, the
25              “Forfeitable Property”).
26                              II. IMPLEMENTATION
27         IT IS FURTHER ORDERED as follows:
28         A.   Upon the entry of this Order, and pursuant to Fed. R.

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 1   Crim. P. 32.2(b)(3) and 21 U.S.C. § 853, the United States
 2   Attorney General (or a designee) is authorized to seize the
 3   Forfeitable Property.
 4         B.   Upon entry of this Order, the United States is further
 5   authorized to conduct any discovery for the purpose of
 6   identifying, locating, or disposing of the Forfeitable Property
 7   subject to forfeiture pursuant to this Order, 21 U.S.C. § 853(m)
 8   and Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure.
 9   “Any discovery” shall include all methods of discovery permitted
10   under the Federal Rules of Civil Procedure.
11         C.   Upon entry of this Order (and at any time in the
12   future after amendment of the applicable order of forfeiture in
13   this matter), the United States Attorney General (or a designee)
14   is authorized to commence any applicable proceeding to comply
15   with statutes governing third party rights, including giving
16   notice of this and any other Order affecting specific property.
17   The following paragraphs shall apply to any ancillary proceeding
18   conducted in this matter:
19              (1)   Pursuant to 21 U.S.C. § 853(n)(1) and
20   Supplemental Rule G(4)(a)(iv)(C) of the Supplemental Rules for
21   Admiralty or Maritime Claims and Asset Forfeiture Actions, the
22   government shall forthwith publish for at least thirty (30)
23   consecutive days on an official government website notice of
24   this order and any other Order affecting the Forfeitable
25   Property, and notice that any person, other than the defendant,
26   having or claiming a legal interest in the property must file a
27   petition with the Court within thirty (30) days of the
28   publication of notice or receipt of actual notice, whichever is

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 1   earlier.   The United States shall also, to the extent
 2   practicable, provide written notice to any person known to have
 3   an alleged interest in the Forfeitable Property.
 4              (2)   Any person other than defendant asserting a legal
 5   interest in the Forfeitable Property may, within thirty days of
 6   the publication of notice or receipt of notice, whichever is
 7   earlier, petition the court for a hearing without a jury to
 8   adjudicate the validity of his alleged interest in the property,
 9   and for an amendment of the order of forfeiture, pursuant to
10   21 U.S.C. § 853(n)(2).
11              (3)   Any petition filed by a third party asserting an
12   interest in the Forfeitable Property shall be signed by the
13   petitioner under penalty of perjury and shall set forth the
14   nature and extent of the petitioner’s right, title, or interest
15   in such property, the time and circumstances of the petitioner’s
16   acquisition of the right, title or interest in the property, any
17   additional facts supporting the petitioner’s claim, and the
18   relief sought. 21 U.S.C. § 853(n)(3).
19              (4)   The United States shall have clear title to the
20   Forfeitable Property following the Court’s disposition of all
21   third-party interests or, if no petitions are filed, following
22   the expiration of the period provided in 21 U.S.C. § 853(n)(2)
23   for the filing of third-party petitions.
24         D.   Pursuant to Fed. R. Crim. P. 32.2(b)(3) and the
25   defendant’s plea agreement, this Preliminary Order of Forfeiture
26   shall be made part of the defendant’s sentence and included in
27   his judgment.
28         E.   The Court shall retain jurisdiction to enforce this

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 1   Order, and to amend it as necessary, pursuant to Fed. R. Crim.
 2   P. 32.2(e).
 3   DATED: February 13, 2024          _________________________________
                                        HON. JOSEPHINE L. STATON
 4                                      UNITED STATES DISTRICT JUDGE
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